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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

HAMMOND DEVELOPMENT                                §
INTERNATIONAL, INC.                                §
                                                   §      NO: WA:19-CV-00355-ADA
vs.                                                §
                                                   §
AMAZON.COM, INC., AMAZON.COM,
LLC, AMAZON.COM SERVICES, INC.,
AMAZON WEB SERVICES, INC.

                   ORDER GOVERNING PROCEEDINGS – PATENT CASE

This Order shall govern proceedings in this case. The following deadlines are hereby set:

      1. This case is SET for a telephonic Rule 16 Case Management Conference on Wednesday,
         October 9, 2019 at 3:00 p.m.. Participants shall dial into the following number 5 minutes
         before the scheduled time: 866.434.5269; access code 9678090. Lead counsel for each
         party, and all unrepresented parties, shall be present. Client representatives are welcome
         to attend, but such attendance is not required. The Court expects the parties to be
         prepared to discuss:

             a.    an overview of the claims and defenses, including any unique issues the parties
                  believe should be addressed at this stage of the case;

             b. issues involving the case schedule and potential amendments to the Court’s
                default scheduling order, including the date for the Markman Hearing;

             c. issues relating to claim construction, including whether a live tutorial would be of
                benefit to the Court;

             d. issues relating to discovery, including potential amendments to the Court’s default
                discovery limits or Protective Order; and,

             e. any other issues the parties believe would lead to the just, speedy and inexpensive
                determination of this action.


      2. (Not later than 7 business days before the CMC). Plaintiff shall serve preliminary
         infringement contentions in the form of a chart setting forth where in the accused
         product(s) each element of the asserted claim(s) are found. Plaintiff shall also identify the
         priority date (i.e. the earliest date of invention) for each asserted claim and produce: (1)
         all documents evidencing conception and reduction to practice for each claimed
         invention, and (2) a copy of the file history for each patent in suit.

      3. (Not later than 3 business days before the CMC). Lead counsel for each party shall meet
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         and confer (either in person or by telephone), to discuss whether they believe the Court’s
         default Scheduling Order and default Discovery Limits are appropriate for this case, and
         any issues relating to the management of this case they intend to raise at the CMC.

    4. (Two weeks after the CMC). The Parties shall submit an agreed Scheduling Order. If the
       parties cannot agree, the parties shall submit a separate Joint Motion for entry of each
       Order briefly setting forth their respective positions on items where they cannot agree.
       Absent agreement of the parties, the Plaintiff shall be responsible for the timely
       submission of this and other Joint filings.

    5. (Seven weeks after the CMC). Defendant shall serve preliminary invalidity contentions
       in the form of (1) a chart setting forth where in the prior art references each element of the
       asserted claim(s) are found, (2) an identification of any limitations the Defendant
       contends are indefinite or lack written description under section 112, and (3) an
       identification of any claims the Defendant contends are directed to ineligible subject
       matter under section 101. Defendant shall also produce (1) all prior art referenced in the
       invalidity contentions, (2) technical documents, including software where applicable,
       sufficient to show the operation of the accused product(s), and (3) summary, annual sales
       information for the accused product(s) for the prior two years, unless the parties agree to
       some other timeframe.

                                                 DISCOVERY

Except with regard to discovery necessary for claim construction, all other discovery is stayed
until after the Markman hearing. Notwithstanding this general stay of discovery, the Court will
permit limited discovery by agreement of the parties, or upon request, where exceptional
circumstances warrant.

Following the Markman hearing, the following discovery limits will apply to this case. The
Court will consider reasonable requests to increase these limits should circumstances warrant.

     1. Interrogatories: 30 per side
     2. Requests for Admission: 45 per side
     3. Requests for Production: 75 per side
     4. Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
     5. Expert Depositions: 7 hours per report1

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing
of good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a
procedure identifying custodians and search terms it believes the opposing party should search.
The opposing party can oppose, or propose an alternate plan. If the parties cannot agree, they
shall contact chambers to schedule a call with the Court to discuss their respective positions.

1 For example, if a single technical expert submits reports on both infringement and invalidity, he or she may be
deposed for up to 14 hours in total.
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                                   DISCOVERY DISPUTES

A party may not file a Motion to Compel discovery unless: (1) lead counsel have met and
conferred in good faith to try to resolve the dispute, and (2) the party has contacted the Court
(with opposing counsel) to arrange a telephone conference to summarize the dispute and the
parties respective positions. After hearing from the parties, the Court will determine if further
briefing is required.

                                    PROTECTIVE ORDER

Pending entry of the final Protective Order, the Court issues the following interim Protective
Order to govern the disclosure of confidential information in this matter:

       If any document or information produced in this matter is deemed confidential by the
       producing party and if the Court has not entered a protective order, until a protective
       order is issued by the Court, the document shall be marked “confidential” or with some
       other confidential designation (such as “Confidential – Outside Attorneys Eyes Only”) by
       the disclosing party and disclosure of the confidential document or information shall be
       limited to each party’s outside attorney(s) of record and the employees of such outside
       attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential document
       or information is made under this local rule shall keep it confidential and use it only for
       purposes of litigating the case.

                              CLAIM CONSTRUCTION ISSUES

Terms for Construction. The Court does not have a specific limit on the number of asserted
claims or claim terms to be construed; however, the Court encourages the parties to focus on
their top ten claim terms in order of importance. In cases with an unusually large number of
patents or asserted claims, the Court may revisit this topic and will be open to suggestions from
the parties.

Claim Construction Briefing. The Court will require simultaneous claim construction briefing
with the following default page limits; however, the Court will entertain reasonable requests to
increase the limits should circumstances warrant:

           1. Opening Briefs – 30 pages
           2. Responsive Briefs – 30 pages
           3. Reply Briefs – 15 pages
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Unless otherwise agreed by the parties, all simultaneous filings will take place at 5:00 p.m. CT.

Conduct of the Markman Hearing. The Court intends to set aside one half day for the
Markman hearing; however, the Court is open to reserving more or less time, depending on the
complexity of the case and input from the parties. The Court is open to the presentation of live
technology tutorials when they may be of benefit. The Court will consider the parties
suggestions on the order of argument at the Markman hearing. However, if the parties do not
suggest a different procedure, the Court will allow the Plaintiff to pick the first term and then
alternate by term. As a general rule, if one side proposes “plain and ordinary meaning” as its
construction or asserts that a term is indefinite, the other party shall go first.

                                      GENERAL ISSUES

1. The Court does not have a limit on the number of motions for summary judgment (MSJs);
   however, absent leave of Court, the cumulative page limit for Opening Briefs for all MSJs is
   50 pages per side.

2. The Court encourages the submission of briefs longer than 10 pages via audio file so that the
   Court can listen to the arguments. The Court considers the submission of audio files
   particularly useful with regard to claim construction briefing. The recordings shall be made
   in a neutral fashion, citations and legal authority sections need not be read as part of the
   recording, and each such file shall be served on opposing counsel. Counsel should contact
   chambers for procedures to submit audio files.

3. The Court will entertain reasonable requests to streamline the case schedule and discovery
   and encourages the parties to contact the Court (with opposing counsel) when such
   interaction might help streamline the case.

            ORDERED this 3rd day of September, 2019.


                                                    ______________________________
                                                    ALAN D ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
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                                     APPENIDX A – DEFAULT SCHEDULE

 Deadline                           Item

 7 business days before             Plaintiff serves preliminary infringement2 contentions in the
 CMC                                form of a chart setting forth where in the accused product(s)
                                    each element of the asserted claim(s) are found. Plaintiff shall
                                    also identify the earliest priority date (i.e. the earliest date of
                                    invention) for each asserted claim and produce: (1) all
                                    documents evidencing conception and reduction to practice
                                    for each claimed invention, and (2) a copy of the file history
                                    for each patent in suit.

 2 weeks after CMC                  Deadline for Motions to Transfer

 7 weeks after CMC                  Defendant serves preliminary invalidity contentions in the
                                    form of (1) a chart setting forth where in the prior art
                                    references each element of the asserted claim(s) are found, (2)
                                    an identification of any limitations the Defendant contends are
                                    indefinite or lack written description under section 112, and
                                    (3) an identification of any claims the Defendant contends are
                                    directed to ineligible subject matter under section 101.
                                    Defendant shall also produce (1) all prior art referenced in the
                                    invalidity contentions, (2) technical documents, including
                                    software where applicable, sufficient to show the operation of
                                    the accused product(s), and (3) summary, annual sales
                                    information for the accused product(s) for the prior two years,
                                    unless the parties agree to some other timeframe.

 9 weeks after CMC                  Parties exchange claim terms for construction.

 11 weeks after CMC                 Parties exchange proposed claim constructions.




2The parties may contend preliminary infringement contentions and preliminary infringement invalidity
contentionswithout leave of court so long as counsel certifies that it undertook reasonable efforts to prepare its
preliminary contentions and the amendment is based on material identified after those preliminary contentions were
served and should do so reasonably upon identifiying any such material. Any amendment to add claims requires
leave of court so that the Court can address any scheduling issues.
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12 weeks after CMC          Parties disclose extrinsic evidence. The parties shall disclose
                            any extrinsic evidence, including the identity of any expert
                            witness they may rely upon with respect to claim construction
                            or indefiniteness. With respect to any expert identified, the
                            parties shall also provide a summary of the witness’s expected
                            testimony including the opinions to be expressed and a general
                            description of the basis and reasons therefore. A failure to
                            summarize the potential expert testimony in a good faith,
                            informative fashion may result in the exclusion of the
                            proffered testimony. With respect to items of extrinsic
                            evidence, the parties shall identify each such item by
                            production number or produce a copy of any such item if not
                            previously produced.
13 weeks after CMC          Deadline to meet and confer to narrow terms in dispute and
                            exchange revised list of terms/constructions.

14 weeks after CMC          Parties file Opening claim construction briefs, including any
                            arguments that any claim terms are indefinite.

17 weeks after CMC          Parties file Responsive claim construction briefs.

19 weeks after CMC          Parties file Reply claim construction briefs.

20 weeks after CMC          Parties submit Joint Claim Construction Statement and
                            consolidated briefing collated by Opening, Response, and
                            Reply in Microsoft Word format. Absent agreement of the
                            parties, the Plaintiff shall be responsible for the timely
                            submission of this and other Joint filings.

23 weeks after CMC (or as   Markman Hearing at [9:00 a.m. or 1:00 p.m.]
soon as practicable)

1 week after Markman        Fact Discovery opens; deadline to serve Initial Disclosures per
hearing                     Rule 26(a).

6 weeks after Markman       Deadline to add parties.
hearing

8 weeks after Markman       Deadline to serve Final Infringement and Invalidity
hearing                     Contentions.
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12 weeks after Markman       Deadline to amend pleadings. A motion is not required unless
hearing                      the amendment adds patents or claims.

24 weeks after Markman       Close of Fact Discovery.
hearing

25 weeks after Markman       Opening Expert Reports.
hearing

29 weeks after Markman       Rebuttal Expert Reports.
hearing

32 weeks after Markman       Close of Expert Discovery.
hearing

33 weeks after Markman       Deadline to meet and confer to discuss narrowing the number
hearing                      of claims asserted and prior art references at issue. The parties
                             shall file a report within 5 business days regarding the results
                             of the meet and confer.

34 weeks after Markman       Dispositive motion deadline and Daubert motion deadline.
hearing

36 weeks after Markman       Serve Pretrial Disclosures (jury instructions, exhibits lists,
hearing                      witness lists, discovery and deposition designations).

38 weeks after Markman       Serve objections to pretrial disclosures/rebuttal disclosures.
hearing

39 weeks after Markman       Serve objections to rebuttal disclosures and File Motions in
hearing                      limine.

40 weeks after Markman       File Joint Pretrial Order and Pretrial Submissions (jury
hearing                      instructions, exhibits lists, witness lists, discovery and
                             deposition designations); file oppositions to motions in limine

41 weeks after Markman       Deadline to meet and confer regarding remaining objections
hearing                      and disputes on motions in limine.

3 business days before       File joint notice identifying remaining objections to pretrial
Final Pretrial Conference.   disclosures and disputes on motions in limine.
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43 weeks after Markman   Final Pretrial Conference. The Court expects to set the
hearing (or as soon as   Pretrial Conference within 2-4 weeks of the trial date.
practicable)

44-47 weeks after        Jury Selection/Trial. The Court expects to set this date at the
Markman hearing (or as   conclusion of the Markman Hearing.
soon as practicable)
